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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    WAYCROSS DIVISION


UNITED STATES OF AMERICA,                        *

               Plaintiff,                        *

 vs.                                             *              CASE NO.: 5:21CR09

MARIA PATRICIO,                                  *

               Defendant.                        *


  DEFENDANT’S FIRST MOTION FOR BRADY EXCULPATORY MATERIAL AND
            MEMORANDUM OF LAW IN SUPPORT THEREOF


         COMES NOW, MARIA PATRICIO, Defendant in the above-styled matter, by and

through counsel, and respectfully moves this Honorable Court for an order requiring the

Government to furnish copies and/or the opportunity to copy any and all exculpatory material

pursuant to Brady v. Maryland, 373 U.S. 83 (1963), United States v. Agurs, 427 U.5.97 (1976).

United States v. Bagley, 473 U.S. 667 (1985), and their progeny. More specifically, the

Defendant asks this Honorable Court to require the Government prior to trial to produce or to

provide an opportunity to inspect any evidence, material, or information within the possession,

custody or control of the Government, including any information in State or federal government

or police possession, that is favorable to or exculpates the Defendant in any way; that tends to

establish a defense in whole or in part to the allegations in the indictment; that impeaches any

witness the state intends to call; or that may help the Defendant avoid conviction or mitigate

punishment.
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  Defendant's request for such information includes, but is not limited to, the following:

  (a) Any evidence, material or information that would tend to impeach the credibility of

     any person whom the government intends to call as a witness. See Mills v. Scully, 653

     F. Supp. 885 (S.D.N.Y. 1987), rev' d on other grounds, 826 F2d | 192 (2d Cir. 987).

  (b) Any record of the witness' arrest or conviction maintained and prepared by the

     Federal Bureau of Alcohol, Tobacco and Firearms, other federal law enforcement

     agencies. The Georgia Bureau of Investigation, or other state law enforcement

     agencies.

  (c) Any facts or allegations concerning criminal or other misconduct of the witness that

     is not reflected on his/her criminal record including any material information found in

     his/her probation file or any pending criminal charge or investigation against the

     witness or any business entity with which he/she is connected. See United States v.

     Strifler, 851 F.2d 1197 (9th Cir. 1988), cert. denied, 489 U.S. 1032 (1989) (probation

     file must be produced if material and relevant).

  (d) Any material relating to the witness' mental or physical history that tends to impair or

     reflect adversely on his/her reliability as a witness, including but not limited to any

     information that would tend to affect the witness' motive to testify or ability to

     perceive, recall, or understand events.

  (e) Any statements made, written, or recorded by or of the witnesses referred or relating

     to any of the above-mentioned matters.

  (f) Any information that tends to contradict the testimony that the Government

     anticipates will be given by any of its witnesses. See McDowell v. Dixon, 858 F.2d
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     945 (4th Cir. 1988), cert. denied, 489 U.S. 1033 (1989) (state witness misidentified

     the Defendant before trial and it should have been revealed).

  (g) Any information showing that the testimony was motivated in any degree by personal

     animosity or feelings of revenge toward this Defendant. E. g. State v. Brown, 552

     S.W. 2d 383 (Tenn. 1977).

  (h) Any information concerning any Government witness' failure (especially repeated

     failure) of a lie detector test. Carter v. Rafferty, 826F.2d 1299 (3d Cir. 1987) cert.

     denied, 484 U.S. 10l1 (1988) (star witness incapable of telling the truth because he

     failed numerous lie detector tests, and this must be revealed to the defense).

  (i) Any and all records and information revealing felony convictions, guilty verdicts, or

     juvenile adjudications attributed to each witness called by the Government, including

     but not limited to relevant "rap sheets".

  (j) Any and all statements, testimony, memoranda, interviews, documents or summaries,

     relating to this case, or any portion thereof, by any person that contradict, in whole or

     in part, any statement (by that person or any other person) that the Government

     intends to use or rely on in any manner in connection with the trial of this case.

  (k) All evidence that tends to minimize or negate the probative effect of the

     Government's evidence of Defendant's participation in the allegation set forth in the

     indictment. See United States ex rel. Smith v. Fairman,'169 F.2d 386 (7'h Cir, 1985)

     (report revealed gun allegedly used by Defendant was inoperable).

  (l) Any evidence, statement or information in the possession of the Government

     describing or relating to the conduct of the Defendant that in any way refutes or is
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    inconsistent with his/her participation in the alleged offenses, including but not

    limited to the following:

       a.      Any written, recorded or oral statements or comments made by witnesses

            or others to any person, including Government agents and the Grand Jury, that

            are favorable to the Defendant, including but not limited to: all allegations

            contained in United States v Patricio, ET AL, Case No. 5:21CR09;

       b. Any written, recorded or oral statements or comments of persons interviewed

            by the Government in this matter who are not expected to be witnesses for the

            Government at the trial;

       c. Any results, reports, and opinions obtained from examinations, tests, and

            experiments on physical items and evidence that indicate a lack of criminal

            involvement or are otherwise favorable to this Defendant.

       d. Any evidence relating to searches and seizures, electronic or otherwise, that

            would make any search or seizure illegal.

       e. Any promises, agreements, or deals offered by the Government, concerning

            rewards, special treatment or immunity to witnesses or others involved in this

            case. Bagley v. United States, 473 U.S. 667 (1985).

       f. Any evidence that any Government witness has or has sought a financial

            inducement to testify or a promise of leniency in witness' own criminal

            dealings. Bagley v. Lumpkin, 798 F.2d 1297 (9th Cir. 1986), cert. denied, 434

            U.S. 939 (1977); Moynahanv. Manson, 4l9 F. Supp. 1139 (D. Conn. 1976)
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          aff'd, 559 F.2d 1204 (2d Cir. 1977); Hughes v. Bowers, 711 F. Supp. 1574

          (N.D. Ga. 1989), aff'd, 896 F. 2d 780 F. 2d 302 (3d Cir. 1985).

       g. Any and all consideration or promises of consideration given to or on behalf

          of any witness or expected or hoped for by the witness. By "consideration"

          Defendant refers to absolutely anything, whether bargained for or not, which

          arguably could be of value or use to a witness or to persons of concern to the

          witness, including but not limited to formal or informal, direct or indirect,

          leniency, favorable treatment or recommendations or other assistance with

          respect to any pending or potential criminal, parole, probation, pardon,

          clemency, civil, tax, court, court of claims, administrative or other dispute

          with the Government or with any other authority or with any other parties;

          criminal, civil or tax immunity grants; relief from forfeiture; payments of

          money, rewards or fees, witness fees and special witness fees, provisions,

          shelter, transportation, legal services or transactions with the Government or

          over which the Government has real, apparent or perceived influence.

       h. Any and all criminal prosecution investigation, or potential prosecutions

          pending, or which could be brought against the witness, any probationary,

          parole or deferred prosecution status of the witness, and any civil, tax court,

          court of claims, administrative or other pending or potential legal disputes or

          transactions with the government.

       i. The existence and identification of each occasion on which the witness has

          testified before any court, grand jury, or other tribunal in relation to the facts

          of the case.
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               j. The existence and identification or each occasion on which each witness who

                   is an informer accomplice or expert has testified before any court, grand jury,

                   or other tribunal.

               k. Any and all personnel files on any witness ant the existence and identity of all

                   Government files on any witnesses.

       (m) Any written or oral statement and/or confession made by Defendant which is

           unknown to defense counsel. See Government of Virgin Islands v. Martinez, 780 F.2d

           302 (3rd Cir. 1985).

       (n) Any information about any eyewitness for which the prosecution has a name and/or

           address which the Government does not intend to call. United States v. Cadet, 727 F

           .2d 1453 (9th Cir. 1984).

       (o) Any statement or testimony by an expert which would tend to corroborate the

           Defendant's theory of defense or to negate the case of the Government. Agurs, supra.

WHEREFORE, Defendant prays the Government provide or be compelled to provide these

requested materials and information.

                                  MEMORANDUM OF LAW

Defendant MARIA PATRICIO respectfully moves this Honorable Court, pursuant to the general

procedures set forth for disclosure of evidence by the government in Fed.R.Crim.P. l6(a),

for an order directing the government to furnish and make available to her any evidence,

material or information that tends to exculpate the Defendant or that will help her prepare a

defense to the allegations or that may help him/her avoid conviction or mitigation punishment.
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The Defendant's right to these materials is, of course, unquestioned, under Brady v. Maryland.

373 U.S. 83 (1963). The Defendant is aware that the Pretrial Order on discovery, requires the

government to reveal all information and material known to the government which may be

favorable to the Defendant on the issues of guilt or punishment. However, the Defendant does

not rely solely on this provision, but instead makes the kind of specific requests as required by

the subsequent case law.

       As established by the Supreme Court in Brady v. Maryland, the suppression by the

prosecution of evidence favorable to an accused upon request violates due process where the

evidence is material either to guilt or to punishment, irrespective of the good faith or bad faith of

the of guilt or prosecution. 373 U.S. 83, 87 (1963). The duty of disclosure under Brady further

extends to impeachment evidence. See Strickler v. Greene, 527 U.S. 263, 280 (1999) (citing

United States v. Bagley, 473 U.S. 667, 676 (1985)). "Exculpatory evidence" is "substantive

evidence relating to a defendant's guilt or innocence or in mitigation of what otherwise would be

guilty conduct." United States v. Thevis, 84 F.R.D. 47, 52 (N.D. GA. 1979). Impeachment

evidence comprises evidence affecting the credibility of witnesses: "[i]n the case of

impeachment evidence, a constitutional error may derive from the government's failure to assist

the defense by disclosing information that might have been helpful in conducting the cross-

examination." United States v. Scheer, 168 F.3d 445,452 (11th cir. 1999) (emphasis supplied)

(citing Bagley at 678); see also Giglio v. United States, 405 U.S. 150. 154, 92 S.Ct. 763 (1972).

The rule of Brady is "a rule of fairness and minimum prosecutorial obligation." Thevis, 84 F.R.D.

at 52 (citing United States v. Beasley, 576 F.2d 626, 630 (5th Cir. 1978)).

       "Disclosure of documents and tangible objects which are 'material' to the preparation of
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the defense is required under the rule of Brady v. Maryland. "United States v. Jordan, 316 F.3d

1215, 1250 n. 73 (l lth Cir.2003) (quoting Fed.R.Crim.P. 16, Notes (1974 Amends.)). Evidence

is "material" for the purposes of Brady disclosure if it "would be useful in obtaining further

[favorable] evidence." Giles v. Maryland, 386 U.S. 66, 74 (1967) (emphasis supplied); see also

United States v. Fernandez. 136 F.3d 1434, 1438 (1lth Cir. 1998); United States v. Arnold, l17

F.3d 1308 (l1th Cir. 1997); Hays v. State of Ala., 85 F.3d 1462, 1497-98 (l lth Cir.l996); United

States v. Newton, 44 F.3d 913,918 (l1th Cir. 1994); United States v. Spagnoulo, 960 F.2d 990,

994 (11th Cir.1992) (citation omitted). The disclosure requirements of Brady extend to potential

exculpatory or impeaching evidence within other evidence. See United States v. Arnold, 1l7 F.3d

1308, 1317 (l lth Cir. 1997) (surveillance tapes held to contain Brady material); Ogle v. Estelle,

64l F.2d 1122, 1125 (5th Cir. Unit A Apr. l98l) (Brady violation found because suppressed

Federal Bureau of Investigation reports contained favorable impeachment evidence). “Brady's

disclosure requirements extend to materials that, whatever their other characteristics, may be

used to impeach a witness," Strickler, 527 U.S. at 282 n. 21, even if the materials also contain

allegedly "inculpatory" evidence, id. (Emphasis supplied) (citing Bagley, 473 U.S. at 676).

Rather, the test focuses on "whether the undisclosed information could have substantially

affected the efforts of defense counsel." United States v. Smith, 77 F.3d 511, 515 (D.C. Cir.

1996). Furthermore, when material falls under both the ambit of Brady and the government's

discovery obligations pursuant to Federal Rule of Criminal Procedure 16, "there can be no doubt

but that the government must disclose the requested exculpatory material." Thevis, 84 F.R.D. at

5.
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       The government's duty to disclose favorable or impeachment evidence under Brady

applies even where there is no request by the accused. See Strickler, 527 U.S. at 280 (citing

United States v. Agurs, 427 U.5. 97, 107 (1976)). The prosecution further "has a duty to learn of

any favorable evidence known to the others acting on the government's behalf in this case,

including the police.” See id., at 281 (emphasis supplied) (citing Kyles v. Whitley, 514 U.S. 419,

438(1995)). This includes evidence known only to law enforcement officers, and not the

prosecuting attorney. See id., at 280-81 (citing Kyles at 438). United States v. Wood, 57 F.3d 733,

737(9th Cir. 1995) (holding that once the Food and Drug Administration "consulted with the

prosecutor in the steps leading to the prosecution," it "is to be considered as part of the

prosecution in determining what information must be made available to the defendant" and

"cannot with its right hand say it has nothing while its left hand holds what is of value"); United

States v. Diaz-Munoz, 632 F.2d 1330, 1334 (5th Cir. 1980) (government had duty to search CIA

files since the nature of charges and defendant's alleged conduct supported inference that CIA

might have materials); United States v. Auten, 632 F.2d 478, 481 (5th Cir. 1980) (holding that

government has duty to seek 'out information readily available to it" such as information

regarding witness' criminal record); Martinez v. Wainwright, 62l F.2d 184, 186-87 (5th Cir.

1980) (finding Brady violation where state prosecutor was unaware that the FBI rap sheet was in

the possession of a state medical examiner); United States v. Antone, 603 F.2d 566, 569-70 (5th

Cir. 1979) (imputing knowledge of state investigators to federal prosecutors in determining

whether there was a Brady violation where there was a joint investigative task force); United

States v. Deutsch, 475 F. 2d 55 (5th Cir. 1973), overruled on other grounds, United States v.

Henry, 749 F. 2d 203 (5th Cir. 1984) (government had duty under Brady to obtain exculpatory

information in possession of the United States Postal Service). "[A] prosecutor may not 'avoid
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disclosure of evidence by the simple expedient of leaving relevant evidence to repose in the

hands of another agency while utilizing his access to it in preparing his case for trial."' United

States v. Brazel, 102 F.3d 1120, I150 (1lth Cir. 1997) (citation omitted).

        "[T]he prosecution's responsibility for failing to disclose known, favorable evidence

rising to a material level of importance is inescapable.” Kyles, 514 U.S. at 438. Similarly,

"[w]hen the prosecutor receives a specific and relevant request, the failure to make any response

is seldom, if ever, excusable." Agurs, 427 U.S. at 111. This is a result of the fact that "the more

specifically the defense requests certain evidence, thus putting the prosecutor on notice of its

value, the more reasonable it is for the defense to assume from the non-disclosure that the

evidence does not exist, and to make pretrial and trial decisions on the basis of this assumption.”

Bagley, 473 U.S. at 682-83. "[T]he prudent prosecutor will [therefore] resolve doubtful questions

in favor of disclosure." Id, at 108.

        The obligations of Brady and its progeny therefore clearly require that the government

produce to the defendant, any and all exculpatory or impeaching evidence relating to the

defendant' specific requests above, which could be used by the defense within its possession,

custody or control, or that of any of its employees, agents or representatives. The defendant is

entitled to production of evidence relating to the motives of any witness for the Government. See

Giglio, 405 U.S. 150; United States v. Williams, 954 F.2d 668 (11thCir. 1992); Fed.R.Evid.608'

The Government may further not withhold evidence that a witness has made prior false or

inconsistent statements. See United States v. Espinosa-Hernandez, 9l8 F.2d 911, 9l4 (11th Cir.

1990); United States v. Martino, 648 F.2d 367, 384 (5th Cir. 1981); Schneider v. Estelle, 552

F.2d 593, 595 (5th Cir. 1977).
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       Any promises or inducements made by the government to any witness constitute logical

impeachment material under Brady. See Williams at 672; United States v. Nickerson, 669 F.2d

1016, 1018 (5th Cir. 1982). Similarly, evidence that the government has threatened a potential

witness to obtain the witness' cooperation is subject to production under Brady and furthermore

because it implicates a defendant's Sixth Amendment right of access to witnesses. See United

States v. Heller, 830 F.2d 150, 154 (11th Cir. 1987); United States v. Hendrickson, 564 F.2d 197,

198 (5th Cir. 1977). A witness' mental health information has further been held to be relevant for

impeachment purposes. See United States v. Partin, 493 F.2d 750, 762 (5th Cir. 1974). The

Defendant is also entitled to production of any evidence tending to impeach or show the

unreliability of the statement of any alleged co-conspirator. See United States v. Kubiak, 704

F.2d 1545, 1549-1551 (11th Cir. 1983) (co-conspirator's exculpatory statement was Brady

material). Similarly, a witness' prior arrests and misconduct are relevant for impeachment

purposes and therefore within the purview of Brady. See United States v. Espinosa-Hernandez,

918 F.2d 911, 914 (l lth Cir. 1990) (holding government witness' misconduct bears directly on

credibility); United States v. Cohen, 888 F.2d 770, 776-77 (1lth Cir. 1989) (conviction reversed

where trial court excluded evidence offered under Fed. R. Evid. 404(b) that prosecution witness

had previously concocted and managed a fraudulent scheme); United States v. McClure, 546

F.2d 670, 673 (5th Cir. 1977) (conviction reversed where trial court excluded evidence offered

under Fed. R. Evid. 404(b) to show that informant had previously entrapped other defendants).

                                        CONCLUSION

       For the reasons set forth herein, Defendant MARIA PATRICIO, respectfully requests

that the Brady Motion be granted.
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  RESPECTFULLY SUBMITTED, this 24th day of February, 2022.


                                    /s/ Juanita M. Holsey
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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    WAYCROSS DIVISION


UNITED STATES OF AMERICA,                         *

               Plaintiff,                         *

 vs.                                              *              CASE NO.: 5:21CR09

MARIA PATRICIO,                                   *

               Defendant.                         *




                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in accordance

with the notice of electronic filing ("NEF”) which was generated as a result of electronic filing in

this Court.

       This 24th day of February, 2022.


                                                  /s/ Juanita M. Holsey
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